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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MIRIAM GOLDBERG,                                     Case No. 24-cv-04525-LJC
                                                         Plaintiff,
                                   8
                                                                                              ORDER REGARDING STATUS
                                                  v.                                          REPORT ON OBTAINING NEW
                                   9
                                                                                              COUSEL; ORDER REGARDING
                                  10     TEACHBK, INC., et al.,                               DISCOVERY DISPUTE
                                                         Defendants.                          Re: Dkt. No. 54, 55
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                                  12
Northern District of California
 United States District Court




                                  13           The Court previously directed Defendant TeachBK to “endeavor to obtain new counsel no

                                  14   later than June 23, 2025” and file a status report regarding its efforts to obtain counsel by June 26,

                                  15   2025. ECF No. 54 at 3. As of the filing of this order, no status report has been filed. Defendant

                                  16   TeachBK is ordered to file an update with the Court no later than July 7, 2025 explaining whether

                                  17   it has obtained counsel. The Court reminds Defendants that because TeachBK is a corporation, it

                                  18   may only appear through licensed counsel and may not proceed pro se. See D-Beam Ltd. P’ship v.

                                  19   Roller Derby Skates, Inc., 366 F.3d 972, 973 (9th Cir. 2004). Failure to obtain counsel may result

                                  20   in the entry of default.

                                  21           Plaintiff Miriam Goldberg submitted a unilateral discovery letter brief on June 25, 2025

                                  22   regarding Defendants’ purportedly deficient document production. ECF No. 55. Based on

                                  23   Plaintiff’s representations, it appears that Defendants did not make themselves available to meet

                                  24   and confer regarding the issues raised in the letter. The undersigned’s Standing Order ¶ F-5

                                  25   requires parties to make a good faith effort to resolve discovery disputes before seeking Court

                                  26   intervention, first by corresponding via letter, phone call, or email, and, if that is not successful, by

                                  27   meeting and conferring either in person or over videoconference. Although Defendants are not

                                  28   currently represented, they are still required to follow the rules of procedure and this Court’s
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                                   1   Standing Order, including the requirement to meet and confer in good faith to try to resolve

                                   2   discovery disputes. The parties are accordingly ordered to meet and confer in person or via video

                                   3   conference by July 18, 2025 regarding the deficiencies Plaintiff raises in her letter. If the parties

                                   4   are unable to resolve these issues, they may submit a joint discovery letter following the

                                   5   procedures in the Court’s Standing Order.

                                   6           If Defendants Ilya Kiselev and Andrey Burtsev intend to proceed pro se in this action, the

                                   7   Court strongly encourages them to consult the Northern District of California’s resources for pro

                                   8   se litigants, available online at: https://cand.uscourts.gov/pro-se-litigants/.

                                   9           IT IS SO ORDERED.

                                  10   Dated: July 1, 2025

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                                  12
Northern District of California
 United States District Court




                                                                                                       LISA J. CISNEROS
                                  13                                                                   United States Magistrate Judge
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